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                       UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   PORTIA MASON, individually and      Case No.: 2:21-CV-04877-RGK-MAA
12   on behalf of all others similarly
     situated,                           CLASS ACTION
13
14                      Plaintiff,       Hon. Judge R. Gary Klausner

15        v.                             [PROPOSED] ORDER GRANTING
16                                       JOINT STIPULATION TO DISMISS
     MIMI SO INTERNATIONAL, LLC,         CASE WITH PREJUDICE
17   a Delaware Limited Liability
18   Company; and DOES 1 to 10,
     inclusive,
19                                       Complaint Filed: June 15, 2021
                                         Trial Date:      None Set
20
                        Defendants.
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     [PROPOSED] ORDER GRANTING JOINT STIPULATION TO DISMISS CASE WITH PREJUDICE
Case 2:21-cv-04877-RGK-MAA Document 26 Filed 10/05/21 Page 2 of 2 Page ID #:89
